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                 DISTRICT COURT OF THE VIRGIN ISLANDS
                 DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES OF AMERICA,                )
                                         )
                 Plaintiff,              )
                                         )
                 v.                      )       Crim. No. 2012-02
                                         )
SHEVAUN E. BROWNE,                       )
                                         )
                 Defendants.             )
                                         )
                                         )

ATTORNEYS:

Joycelyn Hewlett, Acting United States Attorney
David White, AUSA
United States Attorney’s Office
St. Thomas, VI
     For the United States,

Shevaun E. Browne
     Pro se.
                                   ORDER

GÓMEZ, J.

     Before the Court is the Report and Recommendation of

Magistrate Judge Ruth Miller regarding the motion of Shevaun E.

Browne to Vacate, Set Aside, or Correct Sentence pursuant to 28

U.S.C. § 2255.

     On January 11, 2011, Merchants Commercial Bank in St. John,

United States Virgin Islands was robbed. On January 19, 2012,

the Grand Jury indicted Kadeem Thomas (“Thomas”), Keven Fessale

(“Fessale”), and Shevaun Browne (“Browne”) for various crimes

related to the robbery. The Indictment consisted of four counts.
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Count I alleged Hobbs Act Conspiracy. Count II alleged Bank

Robbery. Counts III and IV alleged Possession of a Firearm

During the Commission of a Crime of Violence. Browne was charged

with Counts I and II of the indictment.

      A jury trial in this matter commenced on March 26, 2012. On

March 28, 2012, the jury convicted Thomas, Fessale, and Browne

on all counts.

      On August 7, 2012, a sentencing hearing was held in this

matter. At the end of the hearing, the Court sentenced Browne to

a term of 165 months.

      Browne appealed. The Third Circuit affirmed Browne’s

conviction in a May 24, 2013, opinion.

      On June 6, 2014, Browne filed a motion pursuant to 28

U.S.C. § 2255 to vacate, set aside, or correct his sentence (the

“motion”). In the motion, Browne raises eleven grounds for post-

conviction relief.

      The Court referred the motion to the Magistrate Judge for a

report and recommendation. The Magistrate Judge recommends that

the motion be denied.

      Having examined the record and applying a de novo standard

of review, the Court will adopt the Magistrate Judge’s

recommendation. The premises considered, it is hereby
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      ORDERED that the Report and Recommendation of the

Magistrate Judge is ADOPTED; and it is further

      ORDERED that Browne’s motion to vacate is DENIED.




                                                    S\__________________
                                                       CURTIS V. GÓMEZ
                                                       District Judge
